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 1                        UNITED STATES DISTRICT COURT
 2                          SOUTHERN DISTRICT OF TEXAS
 3                                HOUSTON DIVISION
 4 UNITED STATES OF AMERICA              .
                                         .        Criminal Action
 5   VERSUS                              .        No. H-17-CR-419
                                         .
 6   GAZELLE CRAIG, D.O., and            .        Houston, Texas
     SHANE FAITHFUL,                     .        March 29, 2018
 7                                       .        4:17 p.m.
                         Defendants.     .
 8   . . . . . . . . . . . . . . . . . . .
 9
                            TRANSCRIPT OF PROCEEDINGS
10
                BEFORE THE HONORABLE DAVID HITTNER AND A JURY
11
                                     DAY 9 OF 9
12
     APPEARANCES:
13
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                 PROCEEDINGS RECORDED BY STENOGRAPHIC MEANS,
25          TRANSCRIPT PRODUCED FROM COMPUTER-AIDED TRANSCRIPTION




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 1                                  PROCEEDINGS
 2                                March 29, 2018
 3              THE COURT:              , you're the presiding juror; is
 4 that correct?
 5              THE FOREMAN: I am, your Honor.
 6              THE COURT: I ask you two questions: Number one, has
 7 the jury reached a verdict?
 8              THE FOREMAN: We have, your Honor.
 9              THE COURT: Is it a unanimous verdict?
10              THE FOREMAN: It is, your Honor.
11              THE COURT: Would you hand it to the marshal, please.
12                    It is signed and dated on both of the juror
13 forms. I think I'll read it from the back forward since I'm
14 down here now.
15                    As to Mr. Faithful, as to Count 1, conspiracy,
16 guilty.
17                    As to the two drugs, both have been checked
18 positive.
19                    Next one, unlawful distribution of a controlled
20 substance as to next three, as to Mr. Faithful, Count 2, guilty.
21 Both drugs are checked -- checkmarked.
22                    Count 3, unlawful distribution -- this is Count 3
23 -- guilty; and both drugs are checked off.
24                    And on verdict number -- and jury verdict to
25 Count 4, both are guilty and both of the drugs are checked off.




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 1                    And it's signed by the presiding juror.
 2                    As to Dr. Craig as to Number 1, conspiracy,
 3 guilty. Both drugs are checked off.
 4                    Counts 2, 3, and 4 -- that's both -- all unlawful
 5 distribution of a controlled substance. Guilty; and both drugs
 6 are checked off.
 7                    Count 3, guilty. Both drugs are checked off.
 8                    And Count 4, guilty. Both drugs are checked off.
 9                    And it's signed and dated by the presiding juror.
10                    Ladies and gentlemen, if this is not your verdict
11 as I just read, please raise your hand.
12        (No response.)
13              THE COURT: Let the record reflect no hands were
14 raised.
15                    On behalf of myself and the attorneys and the
16 entire system, we want to thank you for your service. It was a
17 difficult case, and we really appreciate your taking time to
18 come down and doing your civic duty. We appreciate it, but it's
19 called for by all of us if we're called. That's what the whole
20 system is about, a cross-section of the community listening to a
21 set of facts and then making its determination.
22                    I will be back in to visit with you in just a few
23 minutes, answer any questions that you may have and discuss with
24 you some of the matters that have gone on in this case before.
25 Again, with our deep appreciation, thank you so much. You may




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 1 now stand and return to the jury room.
 2              THE COURT SECURITY OFFICER: All rise.
 3        (The jury was excused at 4:20 p.m.)
 4              THE COURT: All right, be seated.
 5                    I'm directing these comments to both of the
 6 Defendants in this case. They don't need to stand up. I'm just
 7 directing it to them. A written presentence report will be
 8 prepared by the probation office to assist me in sentencing.
 9 You'll be required to give information for the report, and your
10 attorney may be present if you wish.
11                    The Court will permit you and your attorney to
12 read the presentence report before the sentencing hearing; and
13 at the sentencing hearing, you and your attorneys will be given
14 the opportunity to speak on your behalf at that time.
15                    We don't have a sentencing date, do we?
16                    All right. What's the -- what says the
17 Government at this time?
18              MR. ARMSTRONG: Your Honor, the United States moves to
19 remand both Defendants.
20              THE COURT: All right. And what's the response?
21 Mr. Faithful is already in custody. And what is it? I'll hear
22 from both sides at this time.
23                    Yes, sir.
24              MR. WILLIAMS: Your Honor, the -- Mr. Faithful -- on
25 behalf of Mr. Faithful, I respectfully request this Court to




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 1 reinstate his bond. He has met all conditions of bond while he
 2 was on bond. He was late to court. He's been in custody for
 3 some almost two weeks now, and he has affairs. He has a special
 4 needs son that needs to be arranged for. He has to tie up his
 5 particular affairs. And I respectfully request the Court to
 6 reinstate his bond and allow him out pending this Court's
 7 sentencing.
 8              THE COURT: Mr. Lewis.
 9              MR. LEWIS: On behalf of my client, Gazelle Craig,
10 your Honor, I would request that she remain on bond during the
11 time that the --
12              THE COURT: How much bond is she on?
13              MR. LEWIS: She is on a 100,000 unsecured bond.
14              THE COURT: Unsecured, okay.
15              MR. LEWIS: Unsecured bond. I would ask the Court to
16 continue that bond while she -- during the time of the
17 presentence report. She does need to finish doing some things
18 as it relate to -- she hasn't made any plans as to her personal
19 affairs and other things; and as a necessity for that, I would
20 ask the Court to continue that $100,000 unsecured bond or in the
21 alternative require a secured bond in order for her to remain in
22 custody -- I mean, remain free.
23              THE COURT: Okay. Mr. Faithful will remain in
24 custody.
25                    As far as Dr. Craig goes, the bond is hereby set




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 1 aside; and she's remanded to the custody of the United States
 2 Marshal Service pending the sentencing in this case.
 3                    It's been a well-tried case, and we've been down
 4 here a long time. I just appreciate the attorneys' conduct; and
 5 beyond that, we can let the statute now run as to what may or
 6 can be done at this time.
 7                    We stand adjourned.
 8              THE COURT SECURITY OFFICER: All rise.
 9        (Proceedings concluded at 4:24 p.m.)
10
11
12
13                          C E R T I F I C A T E
14
15         I certify that the foregoing is a correct transcript
16 from the record of proceedings in the above-entitled matter, to
17 the best of my ability.
18
19 By: /s/Gayle L. Dye                               05- 12- 2018
20          Gayle L. Dye, CSR, RDR, CRR             Date
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